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      Attorneys for Plaintiff
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 12                        UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
 13

 14
      PAUL MCMULLIN, on behalf of himself        Case No. 8:20-cv-00586-JAK-ADS
 15 and all others similarly situated,

 16                        Plaintiff,            NOTICE OF VOLUNTARY
                                                 DISMISSAL WITH PREJUDICE
 17                v.                            PURSUANT TO FED. R. CIV. P.
                                                 41(a)(1)(A)(i)
 18
    NUVISION FEDERAL CREDIT UNION
 19 and DENALI. A division of Nuvision
    Credit Union,
 20

 21                        Defendants.

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      NOTICE OF VOLUNTARY DISMISSAL
      CASE NO. 8:20-CV-00586-JAK-ADS
Case 8:20-cv-00586-JAK-ADS Document 19 Filed 07/23/20 Page 2 of 2 Page ID #:123




 1         NOTICE IS HEREBY GIVEN that pursuant to Federal Rule of Civil
 2   Procedure 41(a)(1)(A)(i), Plaintiff Paul McMullin voluntarily dismisses his claim
 3   with prejudice against Defendants Nuvision Federal Credit Union and Denali. A
 4   division of Nuvision Credit Union.
 5

 6
     Dated: July 23, 2020                  Respectfully submitted,

 7                                         BURSOR & FISHER, P.A.
 8                                         By:    /s/ L. Timothy Fisher
                                                     L. Timothy Fisher
 9
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     NOTICE OF VOLUNTARY DISMISSAL                                                       1
     CASE NO. 8:20-CV-00586-JAK-ADS
